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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION

JAMIE KAUFMANN WOODS,                           )
et al.,                                         )
                                                )
                Plaintiffs,                     )
                                                )
        vs.                                     ) Case No.: 1:03CV00105 CAS
                                                )
BOB WILLS, et al.                               )
                                                )
                Defendants.                     )

            DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ PROPOSED
       JURY INSTRUCTIONS AND DEFENDANTS’ PROPOSED INSTRUCTIONS

        Defendants hereby submit their objections to plaintiffs’ proposed jury instructions and

Defendants’ proposed jury instructions:

        A.      Objections to Plaintiffs’ Proposed Instructions

        Defendants hereby make the following objections to plaintiffs’ proposed jury

instructions:

                1.       General Objections.

        Per the Court’s Case Management Order, the Court uses Missouri Approved Instructions

(MAI) for state law claims. The remaining claims in this case arise under Missouri law, and

MAI should be followed. Plaintiffs misapplied MAI, by failing to follow the rules for packaging

instructions and enumerating instructions. Under Missouri law, the failure to properly package

instructions is error.

                2.       Specific Objections.

        Defendants’ objections to Plaintiffs’ specific instructions are listed by reference number:
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     1.04   Juror Notetaking- Defendants submit that jurors should not be permitted to take

            notes during the trial.

     8.01   Agency- This instruction is not relevant to the parties or claims in this case. The

            instruction specifically states that it relates to a corporation. A corporation is not

            a party to this lawsuit.

     10.01 Exemplary Damages for Battery- This instruction is improper since there has been

            no showing that either Tracey Brazil Ozuna or Jamie Kaufmann Woods are

            entitled to an instruction for punitive damages for battery.

     10.02 Exemplary Damages for Negligence- This instruction is improper since there has

            been no showing that any of the plaintiffs are entitled to submit a punitive

            damages instruction to the jury.

     11.06 Definition of negligence for health care providers- Plaintiffs have altered this

            MAI instruction to apply to a custodian. However, this makes no sense. The use

            of this instruction in any form is improper since the Court already held that

            defendants cannot be held to any standard of a health care provider.

     21.01 Verdict Directing against Health Care Providers- Plaintiffs have butchered the

            verdict director addressing negligence of health care providers. This is wholly

            inappropriate. Plaintiffs’ proposed instruction fails to comply with the form and

            procedure of MAI, and it fails to identify the act which gives rise to the cause of

            action. Plaintiffs’ proposed instruction also constitutes a roving commission.

     23.02 Verdict Directing – Battery- Plaintiffs’ proposed instruction fails to comply with

            the form and procedure of MAI.




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       4.01   Damages- personal and property- This instruction should be in the beginning of

              the packet with the other damage instructions. Further, the use of the language

              “and is reasonably certain to sustain in the future” is inappropriate in this case.

       36.11 Numerous Verdict Forms- Plaintiffs improperly copied and applied the verdict

              forms. Further, the inclusion of punitive damages is inappropriate for the reasons

              expressed above and Defendants reserve the right to expound on the objections to

              the proposed instructions.

       23.01 Assault- Shortly before filing its objections, Defendants’ counsel was advised by

              Plaintiffs’ counsel that he wanted to submit a proposed verdict directing

              instruction. Defendants vigorously object to the proposed instruction because

              Plaintiffs failed to timely file a proposed instruction or indicate that they were

              going to proceed on any assault claims. Defendants further object to such a

              submission because there are no allegations in the complaint that could justify

              such a claim and because a battery claim implicitly covers assault under Missouri

              law. Finally, Defendants object to Plaintiffs’ proposed instruction because it fails

              to comply with the form of MAI and it commits a roving commission.

       B.      Defendants’ Proposed Jury Instructions

       See attached affirmative defense instructions. Defendants reserve the right to supplement

and amend their proposed instructions. Defendants specifically reserve the right to offer

converse instructions and comparative fault instructions once plaintiffs have submitted

acceptable verdict director and damage instructions. Further, upon instruction, Defendants will

submit proposed verdict directing and damage instructions.




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                                             Respectfully submitted,

                                             BROWN & JAMES, P.C.


                                             __/s/ John D. Briggs__________________
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                                             St. Louis, Missouri 63101
                                             314-421-3400
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                                             Attorneys for Defendants




                                CERTIFICATE OF SERVICE


       I hereby certify that on December 2, 2005, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the
following:

Mr. Oscar Stilley                                   Oliver, Oliver & Waltz, P.C.
7103 Racetrack Loop                                 400 Broadway
Fort Smith, Arkansas 72916                          Cape Girardeau, MO 63702
Attorney for Plaintiffs                             Attorneys for Co-Defendants



                                             ___/s/ John D. Briggs___________________

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                                  INSTRUCTION NO. ____


       Your verdict on Instruction Number __ must be for Defendant Deborah Gerhardt if you

believe that Tracey Brazil Ozuna’s parents, by words or conduct, consented to the acts of

Defendant and the reasonable consequences thereof.




MAI 32.08 [1969 New] Affirmative Defenses—Battery—Consent

Phelps v. Bross, 73 S.W.3d 651, 656-657 (Mo. App. 2002); Byrne v. Nezhat, 261 F.3d 1075,

1109 (11th Cir. 2001); Conte v. Girard Orthopedic Surgeons Med. Group, Inc., 107 Cal. App.4th

1260, 1268 (4 Dist. 2003).




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                                 INSTRUCTION NO. ____


       Your verdict on Instruction Number __ must be for Defendant Betty Wills if you believe

that one or more of Jamie Kaufmann Woods’s parents, by words or conduct, consented to the

acts of Defendant and the reasonable consequences thereof.




MAI 32.08 [1969 New] Affirmative Defenses—Battery—Consent

Phelps v. Bross, 73 S.W.3d 651, 656-657 (Mo. App. 2002); Byrne v. Nezhat, 261 F.3d 1075,

1109 (11th Cir. 2001); Conte v. Girard Orthopedic Surgeons Med. Group, Inc., 107 Cal. App.4th

1260, 1268 (4 Dist. 2003).




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                                 INSTRUCTION NO. ____

       Your verdict on Instruction Number __ must be for Defendant __________ if you

believe:

       That Plaintiff __________ did not tell any of the named Defendants that:

       Plaintiff ___________ missed her period after an excessive length of time, or

       Plaintiff ___________ was constipated for an excessive length of time




MAI 33.01 [1996 Revision] Converse Instructions—General Comment

MAI 33.05(1) [1993 Revision] Converse Instructions—Coonversing Verdict Directing
Instruction Using Affirmatve Converse—“If You Believe” Introduction

Stineman v. Fontbonne College, 664 F.2d 1082 (8th Cir. 1981)




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